Case 16-05179-pmb            Doc 55    Filed 05/18/18 Entered 05/18/18 14:14:42        Desc Main
                                      Document      Page 1 of 11




     IT IS ORDERED as set forth below:



     Date: May 18, 2018
                                                         _____________________________________
                                                                       Paul Baisier
                                                               U.S. Bankruptcy Court Judge

  _______________________________________________________________


                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

In re:                                               :      CASE NO. 16-56987-PMB
                                                     :
EVAN BREEDLOVE,                                      :
                                                     :      CHAPTER 7
                Debtor.                              :
                                                     :
                                                     :
                                                     :
JUSTIN GEE,                                          :
                                                     :
                Plaintiff,                           :
                                                     :      ADVERSARY PROCEEDING
v.                                                   :      NO. 16-5179
                                                     :
EVAN BREEDLOVE,                                      :
                                                     :
                Defendant.                           :
                                                     :
                                                     :

         ORDER GRANTING DEBTOR’S MOTION FOR SUMMARY JUDGMENT
          AND DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         This matter is before the Court on the Supplement to Motion for Summary Judgment filed

by the Plaintiff named above (the “Plaintiff”) on February 5, 2018 (Docket No. 50)(the “Plaintiff’s
Case 16-05179-pmb             Doc 55       Filed 05/18/18 Entered 05/18/18 14:14:42                       Desc Main
                                          Document      Page 2 of 11




Supplemental Motion”).            The Plaintiff’s Supplemental Motion was filed after entry of this

Court’s Order Denying Plaintiff’s Motion For Summary Judgment With Leave To Amend entered

on January 12, 2018 (Docket No. 47)(the “Order”), and supplements the Plaintiff’s Motion for

Summary Judgment filed on August 31, 2017 (Docket No. 40)(the “Plaintiff’s Original Motion”;

the Plaintiff’s Original Motion, as supplemented by the Plaintiff’s Supplemental Motion, is

referred to herein as the “Plaintiff’s Motion”).

         Also before the Court is the Motion for Summary Judgment (the “Debtor’s Motion”) filed

by the Defendant-Chapter 7 Debtor (the “Debtor”) on February 26, 2018, accompanied by a

Declaration Under Penalty of Perjury of James M. Adam (the “Declaration”) and Statement of

Material Facts Not in Dispute (the “Statement of Material Facts”)(Docket No. 51), and a Brief in

Response (Docket No. 52).            Based on a review of the foregoing cross motions for summary

judgment and their accompanying documents, for the reasons set forth below, the Court denies the

Plaintiff’s Motion and grants the Debtor’s Motion.

                                                    Background

         The Plaintiff seeks in his Complaint 1 to have an $18,000.00 state court judgment that he

claims to hold against the Debtor (the “Judgment”) 2 declared nondischargeable under 11 U.S.C.


1
  The Plaintiff commenced this Adversary Proceeding by filing an “Objection to Discharge” on July 28, 2016 (Docket
No. 1)(the “Original Complaint”). The Original Complaint was filed in the Debtor’s main case (Case No. 16-56987-
PMB)(the “Main Case”), but was treated by the Court as a complaint initiating an adversary proceeding, since
objections to discharge and dischargeability must be made by the filing of an adversary proceeding. See Federal
Rules of Bankruptcy Procedure 7001(4) & 7001(6). Plaintiff amended the Original Complaint in its entirety on
August 22, 2016 (Docket No. 6) (the “First Amended Complaint”). The First Amended Complaint was itself
amended on April 13, 2017 (Docket No. 20). The First Amended Complaint, as so amended, is referred to herein as
the “Complaint.”
2
  According to the Plaintiff, the Judgment was entered in the Superior Court of Gwinnett County, Georgia on March
8, 2016, in a matter styled Justin Gee v. Evan M. Breedlove, Civil Action File No. 12-A-10352-5 (the “Civil Suit”)
following entry of a jury verdict in favor of the Plaintiff and against the Debtor filed on February 25, 2016 (the “Jury
Verdict”). Although these allegations appear to be supported by the face of the documents that the Plaintiff asserts
                                                           2
Case 16-05179-pmb             Doc 55       Filed 05/18/18 Entered 05/18/18 14:14:42                        Desc Main
                                          Document      Page 3 of 11




§ 523(a)(6) as a debt for the willful and malicious injury of the Plaintiff by the Debtor.                    Plaintiff

asserts that the Judgment is based on an intentional criminal act by the Debtor (aggravated assault)

resulting in numerous physical wounds to the Plaintiff. 3

         In the Plaintiff’s Supplemental Motion, the Plaintiff seeks to address issues previously

raised by the Court regarding the Plaintiff’s failure to present adequate documentary support in

connection with the Plaintiff’s Original Motion.                 In that regard, the Plaintiff attached to the

Plaintiff’s Supplemental Motion a certified copy of a transcript of a hearing on the Debtor’s plea

of guilty to a charge of aggravated assault 4 in the Superior Court of Hall County, Georgia (State

of Georgia v. Evan Breedlove, Case No. 2011-CR-1083J)(the “Criminal Action”), in addition to

certified copies of other pleadings and orders, including the Plaintiff’s complaint filed against the

Debtor in the subsequent Civil Suit.              Based upon exhibits referenced in and attached to the

Plaintiff’s Original Motion, plus the documents attached to the Plaintiff’s Supplemental Motion,

the Plaintiff argues that he is entitled to relief as a matter of law because he has established all the

elements of Section 523(a)(6) and the Debtor is collaterally estopped from re-litigating such issues

of fact here.



are a copy of the Judgment and the Jury Verdict (see Plaintiff’s Motion, at p. 17-18), the Plaintiff did not present an
admissible copy of either document or otherwise establish that those documents are true and correct copies. See
Order passim.
3
  Plaintiff states that the Debtor slashed his face from his “ear to the corner of [his] mouth and then stabbed [him] two
to three times in the abdomen.” See Plaintiff’s Motion, ¶ 4. The Plaintiff asserts that “the number of wounds
inflicted” by the Debtor show “an intentional act from which the Debtor believed serious injury was substantially
certain to result.” In addition, the Plaintiff alleges that the Debtor willfully attempted to prevent this objection to
dischargeability by misrepresenting his service address in the mailing matrix (Main Case Docket No. 1, page 56).
See Plaintiff’s Motion, ¶ 2.
4
  A document attached to the Plaintiff’s Motion (pp. 6-10), bearing a file-mark date of April 19, 2012 and entitled
First Offender or Conditional Discharge Sentence, reflects a negotiated plea entered by the Debtor under O.C.G.A.
§ 42-8-60 (the “Criminal Plea”).

                                                           3
Case 16-05179-pmb                Doc 55       Filed 05/18/18 Entered 05/18/18 14:14:42                          Desc Main
                                             Document      Page 4 of 11




           In the Debtor’s Motion, the Debtor contends that he is entitled to judgment because the

Plaintiff’s Original Complaint was filed after July 25, 2016, the deadline for such filings under

Federal Rule of Bankruptcy Procedure 4007(c) 5 .                        Consequently, the Debtor argues that the

Plaintiff’s cause of action, if he has one, actually lies under 11 U.S.C. § 523(a)(3) because

Plaintiff’s claim under Section 523(a)(6) was not timely asserted. 6                      As to Section 523(a)(3), the

Debtor asserts that he has established through the undisputed documents attached to the Debtor’s

Motion and the Statement of Material Facts that the Plaintiff had actual knowledge of the pendency

of the Debtor’s bankruptcy case in time to act in a timely manner. The Debtor maintains that,

although the Plaintiff’s address was not properly listed in the schedules and creditor matrix in the

Main Case, the Plaintiff still had actual knowledge of the pendency of this bankruptcy case as early

as May 13, 2016 because, as demonstrated in the uncontested Declaration of James M. Adam,

counsel who defended the Debtor in the Civil Suit, and the undisputed Statement of Material Facts,

the Plaintiff’s lawyer was advised of the filing of the Main Case on that date. 7                        The Plaintiff has


5
  The Debtor actually referred to Fed R Bankr P 4008(c). Because there is no subsection (c) to Rule 4008, and Rule
4007 deals with dischargeability, the Court believes that the Debtor meant to refer to Fed.R.Bankr.P. 4007(c).
6
    This subsection provides that a debt is not discharged if it is –

           (3) neither listed nor scheduled under Section 521(a)(1) of this title, with the name, if known to the
           debtor, of the creditor to whom such debt is owed, in time to permit –
                    …

                     (B) if such debt is of a kind specified in Paragraph (2), (4), or (6) of this subsection, timely
           filing of a proof of claim and timely request for a determination of dischargeability of such debt
           under of one of such paragraphs, unless such creditor had notice or actual knowledge of the case in
           time for such timely filing and request….

11 U.S.C. § 523(a)(3)(B).
7
  The Debtor also argues that, despite the number of additional and apparently authenticated certified documents the
Plaintiff has now filed, Plaintiff has still not submitted properly admissible documentary support in connection with
his claim for relief, especially with regard to the Judgment itself, so that a connection can be made with the complaint
in the Civil Suit. In light of its determination that the Complaint was untimely, the Court does not reach this issue.
                                                               4
Case 16-05179-pmb             Doc 55      Filed 05/18/18 Entered 05/18/18 14:14:42                      Desc Main
                                         Document      Page 5 of 11




not responded to the Debtor’s Motion, Statement of Material Facts, or attached documents, 8 nor

did he file any affidavits in support of the Plaintiff’s Motion. 9

                                               Standard of Review

         Summary judgment may be granted pursuant to Rule 56 (F.R.C.P.), applicable herein by

and through Bankruptcy Rule 7056 (F.R.B.P.), if “there is no genuine issue as to any material fact

and ... the moving party is entitled to a judgment as a matter of law.” Fed.R.Civ.P. 56(c). The

moving party bears the “initial responsibility of informing the ... court of the basis for its motion,

and identifying those portions of the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, which it believes demonstrate the absence

of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548,

2553, 91 L.Ed.2d 265 (1986) (internal quotation marks omitted); accord, e.g., Mann v. Taser Int'l,

Inc., 588 F.3d 1291, 1303 (11th Cir. 2009).          In deciding a motion for summary judgment, the court

“is not to weigh the evidence and determine the truth of the matter but to determine whether there

is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249, 106 S.Ct. 2505,

2511, 91 L.Ed.2d 202, 212 (1986).            Further, all reasonable doubts should be resolved in favor of

the non-moving party, and “if reasonable minds could differ on any inferences arising from

undisputed facts, summary judgment should be denied.” Twiss v. Kury, 25 F.3d 1551, 1555 (11th

Cir. 1994), citing Mercantile Bank & Trust Co. v. Fidelity & Deposit Co., 750 F.2d 838, 841 (11th

Cir. 1985).



8
  Under Local Rule BLR 7056-1(a)(2), material facts contained in a moving party’s statement of such facts to which
no response is filed are deemed admitted.
9
  The Plaintiff did file a Statement of Undisputed Facts with the Plaintiff’s Original Motion (Docket No. 41).   None
of the facts in that pleading relate to the timeliness issue.
                                                          5
Case 16-05179-pmb              Doc 55      Filed 05/18/18 Entered 05/18/18 14:14:42                     Desc Main
                                          Document      Page 6 of 11




                                                     Discussion

           This chapter 7 bankruptcy case was filed on April 21, 2016 (Main Case Docket No. 1).

As stated in the Notice of Chapter 7 Bankruptcy Case filed on April 22, 2016 (Main Case Docket

No. 4)(the “Notice”), the meeting of creditors under 11 U.S.C. § 341 was scheduled for May 25,

2016, 10 and the deadline to challenge the dischargeability of a particular debt under 11 U.S.C.

§ 523(a)(6) was July 25, 2016 (the “Deadline”).                See also Fed.R.Bankr.P. 4007(c).         The Notice

was mailed by the Court to creditors based on the creditor mailing matrix provided and verified by

the Debtor.       The Debtor does not dispute that the Plaintiff was listed in his Statement of Financial

Affairs, Schedule D, and in the mailing matrix at an improper mailing address (see Main Case

Docket No. 1).          The Debtor acknowledges that the address listed in the mailing matrix for

Plaintiff (75 Langley Drive, Lawrenceville, Georgia 30046) is neither the address of the Plaintiff

nor his counsel, but is instead the address of the Gwinnett County Courthouse.                        The Plaintiff

certified through counsel that he served the Original Complaint initiating this Adversary

Proceeding on July 25, 2016 (Docket No. 1), but as reflected on the Court Docket, it was not

actually filed with the Clerk of this Court until July 28, 2016, which is three (3) days after the

Deadline. 11

           The Debtor’s contention that the Complaint is untimely was first raised in the Debtor’s

Motion to Strike filed on April 13, 2017 (Docket No. 21), and was asserted in his Answer to

Plaintiff’s Amended Complaint as Amended by the Amendment Filed April 13, 2017 and


10
     The docket in the Main Case reflects that the meeting was held and concluded on that day.
11
    Evidently, the Original Complaint was mailed to the Clerk for filing on or about July 25, 2016, which was a
Monday. The Court later entered an Order Granting Motion to Compel Plaintiff’s Counsel to Comply with BLR
5005-6(a) on April 21, 2017 (Docket No. 24), requiring the Plaintiff’s counsel to comply with the local rules and file
all subsequent documents electronically.
                                                           6
Case 16-05179-pmb              Doc 55      Filed 05/18/18 Entered 05/18/18 14:14:42                         Desc Main
                                          Document      Page 7 of 11




Affirmative Defenses of Defendant filed on July 7, 2017 (Docket No. 30).                    In the Debtor’s Motion,

the Debtor has now presented undisputed evidence that he provided actual notice of the filing of

this bankruptcy case to the Plaintiff’s counsel on May 13, 2016, seventy-three (73) days prior to

the Deadline.

         More specifically, Mr. Adam, the Debtor’s counsel in the Civil Suit, certified in the

Declaration that he regularly communicated with Mr. Daum, who served as counsel for the

Plaintiff in the Civil Suit and is also Plaintiff’s counsel in this Adversary Proceeding.                   Mr. Adam

avers that, in an e-mail reply to an inquiry by Plaintiff’s counsel regarding the status of the Debtor’s

responses to post-judgment discovery, Mr. Adam stated “I understand Mr. Breedlove has filed a

chapter 11 bankruptcy and you were supposed to have been served with a stay.                        I do not represent

him in the bankruptcy.”         See Exhibit “A” as attached to the Declaration.              The date of this e-mail

is shown as May 13, 2016. The Plaintiff has not contested that this communication occurred or

offered contrary evidence on this point.

         Based on the foregoing, it is beyond dispute that the Original Complaint was not timely

filed.   The Deadline for filing a complaint to object to the dischargeability of a debt of the Debtor

was July 25, 2016.        The Original Complaint was not filed until July 28, 2016. 12                  Consequently,


12
    Pursuant to Federal Rule of Bankruptcy Procedure 4007(c), a complaint challenging the dischargeability of a debt
under 11 U.S.C. § 523(c) “shall be filed no later than 60 days after the first date set for the meeting of creditors under
§ 341(a).” Fed.R.Bankr.P. 4007(c) (emphasis added). Although the Original Complaint was purportedly mailed to
the Clerk for filing on July 25, 2016, it was not filed with the Clerk until July 28, 2016, as reflected on the time-
stamped entry on the face of the document. See Original Complaint, p. 1. “Sending or mailing by the United States
Postal Service is not the equivalent of filing. Such an act is merely one mode of transporting the necessary papers to
the Clerk's Office where the papers are to be filed by the Clerk.” In re Strickland, 50 B.R. 16, 17 (Bankr. M.D. Ala.
1985). Here, Rule 4007(c) clearly states that complaints challenging dischargeability must be filed, not mailed, by
a certain date. See 9 COLLIER ON BANKRUPTCY ¶ 4007.04[1][a] (16th ed. 2018)(explaining that “[t]he language
of the rule clearly specifies that the complaint must be filed by that date, so that merely mailing it to the clerk by the
deadline is not sufficient”). Thus, the mailing of the Original Complaint on the applicable deadline is irrelevant;
rather, it is the date of filing that governs the timeliness of a complaint made under Rule 4007(c). “[A] document is
filed when it is delivered and received into the custody of the clerk, not merely sent through the United States mails.
                                                            7
Case 16-05179-pmb             Doc 55      Filed 05/18/18 Entered 05/18/18 14:14:42                      Desc Main
                                         Document      Page 8 of 11




the obligation of the Debtor to the Plaintiff cannot be nondischargeable under Section 523(a)(6)

(see Fed.R.Bankr.P. 4007(c)), and the only way in which the obligation of the Debtor to the

Plaintiff can be nondischargeable is pursuant to Section 523(a)(3).

         As noted above, Section 523(a)(3) renders nondischargeable claims that would be

nondischargeable under, inter alia, Section 523(a)(6) but with respect to which a timely complaint

as required by Fed. R. Bankr. Pro. 4007(c) was not filed, in circumstances where the creditor did

not get timely notice of the filing of the bankruptcy case. 13            Under Section 523(a)(3), notice of a

case means “notice reasonably calculated, given the factual circumstances, to inform claimants of

a proceeding that affects their rights.” In re Johnson, 2009 WL 6499334, *2, 2009 Bankr. LEXIS

2611 (Bankr. N.D. Ga. July 22, 2009), quoting In re Kendavis Holding Co., 249 F.3d 383, 387-88

(5th Cir. 2001).    When a debtor fails to schedule a creditor properly, the creditor’s right to contest

dischargeability may not be dismissed as time-barred under Fed.R.Bankr.P. 4007(c).                         Chanute

Prod. Credit Ass’n v. Schicke (In re Schicke), 290 B.R. 792, 800 (B.A.P. 10th Cir. 2003).

Creditors are entitled to due process and adequate notice, and such rights may not be disregarded.

See Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 313-14, 70 S.Ct. 652, 657, 94

L.Ed.2d 865 (1950).




In re Pack, 252 B.R. 701, 704 (Bankr. E.D. Tenn. 2000)(quoting In re Bozeman, 219 B.R. 253, 255 n.3 (Bankr. W.D.
Ark. 1998)). Because the Original Complaint was not filed until July 28, 2016, it was untimely under Rule 4007(c).
Federal Rule of Bankruptcy Procedure 9006(f) is also no help to the Plaintiff, since the time period contained in Rule
4007(c) is not measured from service, but instead is measured from a specific date – the first date set for the 341
meeting.
13
  See e.g. Douglas Cty. Bd. of Comm’rs v. Quarterman (In re Quarterman), 2010 WL 4642471, *4-*5 (Bankr. N.D.
Ga. Aug. 23, 2010)(Section 523(a)(3)(B) sets forth an exception to the rule that a cause of action under Section
523(a)(6) must be timely filed in accordance with Fed.R.Bankr.P. 4007(c) and Section 523(c)(1)).
                                                          8
Case 16-05179-pmb             Doc 55      Filed 05/18/18 Entered 05/18/18 14:14:42                      Desc Main
                                         Document      Page 9 of 11




         Here, the Debtor failed to comply with Fed.R.Bankr.P. 1007(a)(1) and (b), and 11 U.S.C.

§ 521, because he did not list the Plaintiff as a creditor at his proper address consistent with the

requirements of the Official Form.            Instead, he listed the Plaintiff as a creditor, but gave an

incorrect address for the Plaintiff. The duty to afford due process, however, is supplemented by

the responsibility placed on the creditor to inquire and to file an objection to the dischargeability

of a debt within the time limit provided in Fed.R.Bankr.P. 4007(c) if the creditor has “notice or

actual knowledge of the case in time for such timely filing.” See 11 U.S.C. § 523(a)(3)(B).                        In

other words, creditors with notice must act to protect their rights by informing themselves of

applicable deadlines and taking appropriate action accordingly.

         Although notice to a creditor’s attorney is not always sufficient to put that creditor on notice

of the filing of a bankruptcy case by a debtor, 14 in certain situations the attorney’s knowledge may

be properly imputed to the creditor.           For instance, notice may be imputed when the creditor is

scheduled in care of its attorney. See e.g. Schicke, supra.             In Schicke, the court found a sufficient

nexus between the creditor and the attorney where the attorney represented the creditor in pre-

bankruptcy litigation against the debtor. Schicke, 290 B.R. at 802-03.

         The relationship between the Plaintiff and his counsel in this case is clearly adequate to

have put Plaintiff on notice of this bankruptcy case because that relationship was directly related

to the Plaintiff’s issues with the Debtor. The counsel that received notice of the filing of this case

is the same counsel that obtained the Judgment and the same counsel that filed the Complaint.                      In

fact, it was in the context of communication regarding post-judgment discovery on the Judgment


14
   See e.g. Johnson, supra, at *3 (finding notice sent to attorney employed at same law firm as creditor’s former
attorney, which did not identify real party in interest, is not reasonably calculated to provided notice to creditor).

                                                          9
Case 16-05179-pmb             Doc 55      Filed 05/18/18 Entered 05/18/18 14:14:42                         Desc Main
                                         Document     Page 10 of 11




that Plaintiff’s counsel received notice that the Debtor had filed a bankruptcy case.                         See also

Lompa v. Price (In re Price), 871 F.2d 97, 99 (9th Cir. 1989); cf. Maldonado v. Ramirez, 37 B.R.

219, 221 (D. V.I. 1984), rev’d on other grounds, 757 F.2d 48, 51 (3rd Cir. 1985); and see In re San

Miguel Sandoval, 327 B.R. 493, 508-10 (B.A.P. 1st Cir. 2005)(notice sent to attorney sufficient to

impose obligation on creditor to monitor proceedings); accord In re Manausa, 2013 WL 12233953

(Bankr. N.D. Fla. Dec. 12, 2013)(e-mail notice received by counsel providing less than thirty-six

(36) hours notice held insufficient).

         Based on this notice, the Debtor’s failure to list the Plaintiff’s proper address on the mailing

matrix did not relieve the Plaintiff of his obligation to act in a timely manner in the enforcement

of his rights and protection of his claim. See Byrd v. Alton (In re Alton), 837 F.2d 457, 460 (11th

Cir. 1988).      Because the Plaintiff’s lawyer in this Adversary Proceeding also represented the

Plaintiff in the Civil Action, counsel’s knowledge, based on the notice he received from Mr. Adam,

is properly imputed to the Plaintiff, who was thus placed on notice to determine any applicable

deadlines for asserting his claim. 15        Such imputation is based on the nexus between the Plaintiff’s

retention of his attorney and his claim against the Debtor, as well as his attorney’s participation in

this bankruptcy case. 16


15
   As noted above, Plaintiff’s counsel has not disputed that he was provided notice of this bankruptcy case through
Mr. Adam’s e-mail in May, 2016. Moreover, it appears that the Plaintiff’s counsel became aware of the implications
of the bankruptcy filing in time to have filed a timely dischargeability complaint, as he apparently prepared and served
the Original Complaint asserting alleged grounds for excepting the Judgment from discharge on or prior to the
Deadline – he simply failed to file the Original Complaint with the Court in time.
16
   Courts in bankruptcy cases have held that “‘notice served on a creditor’s nonbankruptcy attorney imputes notice to
the creditor [only] so long as there is a nexus between the creditor’s retention of the attorney and the creditor’s claim
against the debtor.’” Licata v. Seven Oaks Partners, L.P. (In re Seven Oaks Partners, L.P.), 2018 WL 276681, *5
(D. Conn. Jan. 3, 2018), quoting Lefkowitz v. Najjar (In re Najjar), 2007 WL 1395399, at *4 (Bankr. S.D. N.Y. May
11, 2007). A sufficient nexus has been found “‘where such creditor’s nonbankruptcy attorney participated in the
bankruptcy case’” and also where the attorney’s “‘activity on behalf of the creditor in a nonbankruptcy proceeding
was significant and ongoing at the time of the bankruptcy.’” Id. Each one of these factors is present here.
                                                          10
Case 16-05179-pmb             Doc 55     Filed 05/18/18 Entered 05/18/18 14:14:42                       Desc Main
                                        Document     Page 11 of 11




                                                    Conclusion

         Given the notice to counsel for the Plaintiff of the filing of a bankruptcy case well prior to

the Deadline and his failure to act in a timely manner as established by the undisputed facts, the

Debtor is entitled to summary judgment, the Plaintiff is not entitled to summary judgment, 17 and

the judgment debt at issue will not be excepted from discharge herein under either 11 U.S.C.

§§ 523(a)(3)(B) or 523(a)(6).         Consequently, it is

         ORDERED that the Debtor’s Motion be, and the same hereby is, granted and judgment

will be entered in favor of the Debtor and against the Plaintiff on the Complaint; and, it is further

         ORDERED that the Plaintiff’s Motion be, and the same hereby is, denied.

         The Clerk is directed to serve a copy of this Order upon counsel for the Plaintiff, counsel

for the Debtor, the Chapter 7 Trustee, and the United States Trustee.

                                          [END OF DOCUMENT]




17
  Because the Original Complaint was not timely, and because the Plaintiff is not entitled to relief under Section
523(a)(3) for the reasons set forth above, the Plaintiff’s Motion must be denied.

                                                         11
